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                      UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                         Criminal No. 20-262 (ADM/ECW)

 UNITED STATES OF AMERICA,

                      Plaintiff,

        v.
                                                                ORDER
 FOWZI ABDINASIR ELMI,

                      Defendant.


       This matter came before the Court on March 8, 2021, for a hearing on the

Government's Motion for Detention, pursuant to 18 U.S.C. §§ 3142(f) and (g). At the

hearing, Defendant was present and represented by Jordan S. Kushner, Esq.             The

Government was represented by Justin A. Wesley, Assistant United States Attorney.

Defendant, through counsel, waived his right to contest the Government’s motion for

detention.

              FINDINGS OF FACT AND CONCLUSIONS OF LAW

       1.     On November 19, 2020, Defendant was arraigned and a detention hearing

was continued so the parties could gather more information about the viability of a

treatment program for Defendant. On November 25, 2020, the Court set conditions of

release based on the bond report, arguments of defense counsel, and with no objection from

the government. The conditions included that the defendant must appear in court as

required, remain abstinent from alcohol and controlled substances, submit to testing, and

participate in an inpatient treatment program.
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       2.     Defendant was released from custody on November 30, 2020 to an inpatient

treatment program at Twin Town. The following day, the Defendant was transported to the

hospital, discharged, and then did not wait for transportation back to the treatment facility

as required. The Defendant went home and his father transported him back to the facility.

       3.     On December 2, 2020, the Defendant again went to the hospital. Upon

discharge, the Defendant left even though Twin Town made it clear that Defendant was

not allowed to leave and had to be transported back to treatment by Twin Town. This time,

Defendant did not return to the treatment facility, report to his probation office, or go to his

father’s house. The Defendant was discharged from Twin Town.

       4.     The Court issued a bench warrant on December 4, 2020.

       5.     The Defendant was arrested and appeared in Court on December 8, 2020. A

detention hearing was continued so the parties could again gather more information.

       6.     On December 18, 2020, the Defendant was released on his previous

conditions, but was kept in custody until a treatment bed was available.

       7.     On January 11, 2021, the Defendant was released to treatment at Alliance

Wellness Center in Bloomington. The following week, the Defendant had an unauthorized

drop-off of a previously prescribed medication.

       8.     On January 25, 2021, the Defendant admitted to the treatment director that

he had used opioids at the facility over the weekend and was subsequently discharged from

the program. The Defendant again absconded from supervision.

       9.     On January 28, 20201, the Court issued a second bench warrant.

       10.    The Defendant was arrested and appeared before the Court on March 4, 2021.
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       11.    On March 8, 2021, the Defendant waived a bond revocation hearing and

waived a detention hearing, reserving the right to revisit detention at a later date.

       12.    Based on the record before the Court, including the nature of the instant

charges which involve allegations of conspiracy to distribute fentanyl and possession with

intent to distribute fentanyl, along with Defendant using opioids and twice absconding from

treatment, the Court finds that the United States has made a clear and convincing showing

that no condition or combination of conditions of bond will reasonably ensure the safety

of the community, and has also shown by a preponderance of the evidence that the

Defendant poses a serious risk of flight.

       13.    Based on the foregoing, the Court concludes, pursuant to 18 U.S.C. §

3142(e), that detention is appropriate.

       THEREFORE, IT IS HEREBY ORDERED that:

       1.     Pursuant to 18 U.S.C. § 3142(e), the Government’s Motion for Detention of

Defendant without bond is GRANTED;

       3.     Defendant is committed to the custody of the Attorney General for

confinement in a correctional facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;

       4.     Defendant shall be afforded reasonable opportunity to consult privately with

his lawyer; and

       5.     Upon order of the Court or request by the United States Attorney, the person

in charge of the correctional facility in which the defendant is confined shall deliver him



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to the United States Marshal for the purpose of appearance in connection with all court

proceedings.



Dated: March 25, 2021                   s/ Hildy Bowbeer
                                        The Honorable Hildy Bowbeer
                                        United States Magistrate Judge




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